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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

KYLE JAMES
Plaintiff, ) JURY TRIAL DEMANDED
)
)
Vv. )Case No.

) 2:21-CV-09704-DSF-SKx

CREDENCE RESOURCE MANAGEMENT
LLC;
Defendant.

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MOTION TO STRIKE
DEFENDANTS PROPOSED ORDER
TO FILE LATE ANSWER

Plaintiff requests this court to strike the Defendant’s proposed order to file late answer.
The defendant filed for a 30 day extension on January 11, 2022 and failed to produce an answer
within the given time period. Plaintiff requests the court to approve Motion for Entry of Default.
Pursuant to Fed. R. Civ. P. 55. In support of this request, Plaintiff relies upon the record in this

case and the memorandum of law in support submitted herein.

Respectfully submitted,

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e James
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CERTIFICATE OF SERVICE PURSUANT TO LCvR5.3(b)

I certify that the foregoing was served upon the parties’ attorney(s) of record via CM/ECF.

Dated: February 27, 2022
Respectfully submitted,

Kyle James

 
